                         Case 1-22-40065-ess               Doc 1       Filed 01/13/22           Entered 01/13/22 20:45:13
                                                                                                                                              1/13/22 8:42PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                     Chapter       7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Science, Language, and Arts International School

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  9 Hanover Place
                                  Brooklyn, NY 11201
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                         Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       slaschool.org


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                     Other. Specify:   Not for Profit




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Debtor    Science, Language, and Arts International School                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    Science, Language, and Arts International School                                              Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                   Other        Live animals
                                                                                   9 Hanover Place
                                                  Where is the property?           Brooklyn, NY, 11201-0000
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Science, Language, and Arts International School                            Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Science, Language, and Arts International School                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 13, 2022
                                                  MM / DD / YYYY


                             X   /s/ Jennifer Wilkin                                                      Jennifer Wilkin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Head of School




18. Signature of attorney    X   /s/ James T Bentley                                                       Date January 13, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James T Bentley
                                 Printed name

                                 Winston & Strawn LLP
                                 Firm name

                                 200 Park Ave.
                                 New York, NY 10166-4193
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 294-6700                Email address      JBentley@winston.com

                                 4120853 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Science, Language, and Arts International School

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 13, 2022                        X /s/ Jennifer Wilkin
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jennifer Wilkin
                                                                       Printed name

                                                                       Head of School
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Science, Language, and Arts International School

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,631,888.85

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,631,888.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           424,110.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,558,965.13


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,983,075.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name          Science, Language, and Arts International School

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                  $20.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Dime Bank                                                                                                                     $251,359.17



                     Bank of America
            3.2.     Overdrawn ($2,456.45)                                                                                                                    $0.00



 4.        Other cash equivalents (Identify all)


           4.1.      Paypal                                                                                                                               $23.95




 5.         Total of Part 1.                                                                                                                   $251,403.12
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         Science, Language, and Arts International School                                   Case number (If known)
                Name

  8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
             Description, including name of holder of prepayment
                  SPLAT
                  100 Bogart St.
             8.1. Brooklyn, NY 11221                                                                                                      $750.00
             8.2. See Schedule G for pre-payments/tuition deposits made by families.                                                 $895,050.72


 9.        Total of Part 2.                                                                                                         $895,800.72
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or more:                                 28,450.00   -                                0.00 = ....           $28,450.00
                                              face amount                            doubtful or uncollectible accounts
                                            Beatrice Octavie - Tuition Owed

           11a. 90 days old or more:                         1,389,415.68        -                                        = ....     $1,389,415.68
                                              face amount                            doubtful or uncollectible accounts
                                            Friends of the International Charter School of NY (Sub-Lease Rent)
                                            55 Willoughby St
                                            Brooklyn, NY 11201

           11a. 90 days old or more:                                 13,000.00   -                                0.00 = ....           $13,000.00
                                              face amount                            doubtful or uncollectible accounts
                                            Bonjour NY ABC, LLC
                                            528 Putnam Aveune FL 3
                                            Brooklyn, NY 11221

           11a. 90 days old or more:                                  3,158.00   -                                0.00 = ....             $3,158.00
                                              face amount                            doubtful or uncollectible accounts
                                            Russell Sarder and Mary Switzer -Tuition Owed

           11a. 90 days old or more:                                 20,578.00   -                                0.00 = ....           $20,578.00
                                              face amount                            doubtful or uncollectible accounts
                                            Jennifer Wilkin Note
                                            9 Hanover Place
                                            Brooklyn, NY 11201


           11b. Over 90 days old:                                     7,822.83   -                               0.00 =....               $7,822.83
                                              face amount                            doubtful or uncollectible accounts
                                            Rozlin Financial Group



            11b. Over 90 days old:                         2,600.00              -                             0.00 =....                 2,600.00
                                              face amount                            doubtful or uncollectible accounts
                                             Antoine Debouverie
                                             487 Driggs Ave


                                             Brooklyn, NY 11211
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Science, Language, and Arts International School                                      Case number (If known)
                Name




            11b. Over 90 days old:                                    3,200.00   -                                 0.00 =....                     $3,200.00
                                              face amount                               doubtful or uncollectible accounts
                                             Rochelle & Delon Dorset
                                             235 Malcolm X Blvd
                                             Apt 3R
                                             Brooklyn, NY 11233



            11b. Over 90 days old:                                   13,135.00   -                                 0.00 =....                   $13,135.00
                                              face amount                               doubtful or uncollectible accounts
                                             Keiko Niccolini
                                             95 Lexington Ave
                                             Apt 4D
                                             Brooklyn, NY 11238

 12.       Total of Part 3.                                                                                                               $1,481,359.51
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 39.       Office furniture
           Office Furniture
           9 classrooms full of tables, chairs and
           shelving                                                                                 $0.00                                                $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 3
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 Debtor         Science, Language, and Arts International School                              Case number (If known)
                Name

           Two Computer Monitors                                                       Unknown                                               $200.00


           Four Desktop Computers                                                      Unknown                                               $400.00


           Ten Echo Bluetooth Speakers                                                 Unknown         N/A                                   $400.00


           One Projector                                                               Unknown         N/A                                     $25.00


           Educational classroom materials                                             Unknown         N/A                                 $2,000.00


           Used children's books                                                       Unknown                                                   $0.50


           Basic office supplies                                                       Unknown                                               $200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $3,225.50
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of        Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest        for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Photo Copier
           /Printer (Rent)                                                                  $0.00                                                $0.00




 51.       Total of Part 8.                                                                                                                 $0.00
           Add lines 47 through 50. Copy the total to line 87.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         Science, Language, and Arts International School                              Case number (If known)
                Name



 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            slaschool.org: School's Website                                            Unknown                                           Unknown



 62.        Licenses, franchises, and royalties
            Day Care Facility License                                                  Unknown                                           Unknown



 63.        Customer lists, mailing lists, or other compilations
            Student Register (Past/Present)                                            Unknown                                                 $0.00


            Customer List: Financial Information, health
            records, home addresses, telephone numbers
            and places of employment.                                                  Unknown                                                 $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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                       Case 1-22-40065-ess                           Doc 1   Filed 01/13/22      Entered 01/13/22 20:45:13
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 Debtor         Science, Language, and Arts International School                             Case number (If known)
                Name



 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Mount Vernon Fire Insurance Company
            Non Profit Directors & Officers Liability Policy                                                                            $0.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Two Turtle tank with turtles, pumps, etc.                                                                               $100.00




 78.        Total of Part 11.                                                                                                    $100.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 6
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 Debtor          Science, Language, and Arts International School                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $251,403.12

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $895,800.72

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,481,359.51

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $3,225.50

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                       $100.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,631,888.85            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,631,888.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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                                                                                                                                                              1/13/22 8:42PM


 Fill in this information to identify the case:

 Debtor name         Science, Language, and Arts International School

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1   Internal Revenue Services                      Describe debtor's property that is subject to a lien                           $0.00                    $0.00
       Creditor's Name                                File No. 201903040089746
       PO Box 7346
       Philadelphia, PA
       19101-7346
       Creditor's mailing address                     Describe the lien
                                                      Federal Tax Lien
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       03/04/19                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.2   IRS                                            Describe debtor's property that is subject to a lien                  $424,110.00                       $0.00
       Creditor's Name
       P.O. Box 7346
       Philadelphia, PA
       19101-7346
       Creditor's mailing address                     Describe the lien
                                                      Federal Tax Liens
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       March 4, 2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9746
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 4
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 Debtor       Science, Language, and Arts International School                                         Case number (if known)
              Name



 2.3   New York State Department                      Describe debtor's property that is subject to a lien                      $0.00          $0.00
       Creditor's Name                                File No. E-045867781-W002-4
       Bankruptcy Section
       PO Box 5300
       Albany, NY 12205-0300
       Creditor's mailing address                     Describe the lien
                                                      State Tax Lien
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       06/08/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.4   New York State Department                      Describe debtor's property that is subject to a lien                      $0.00          $0.00
       Creditor's Name                                File No. E-045867781-W005-7
       Bankruptcy Section
       PO Box 5300
       Albany, NY 12205-0300
       Creditor's mailing address                     Describe the lien
                                                      State Tax Lien
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       02/22/19                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.5   NY State Dept of Taxation                      Describe debtor's property that is subject to a lien                      $0.00          $0.00
       Creditor's Name                                File No. 003758372-01
       Bankruptcy Section
       PO Box 5300
       Albany, NY 12205-0300
       Creditor's mailing address                     Describe the lien
                                                      State Tax Lien
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       06/07/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 4
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 Debtor       Science, Language, and Arts International School                                         Case number (if known)
              Name

           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.6   NY State Dept of Taxation                      Describe debtor's property that is subject to a lien                      $0.00          $0.00
       Creditor's Name                                File No. 003838704-01
       Bankruptcy Section
       PO Box 5300
       Albany, NY 12205-0300
       Creditor's mailing address                     Describe the lien
                                                      State Tax Lien
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       02/21/19                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.7   NYS Dept of Taxation                           Describe debtor's property that is subject to a lien                      $0.00          $0.00
       Creditor's Name

       PO Box 5300
       Albany, NY 12205-0300
       Creditor's mailing address                     Describe the lien
                                                      State Tax Liens
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.8   U.S. Small Business Admin                      Describe debtor's property that is subject to a lien                      $0.00          $0.00
       Creditor's Name

       1550 Richmond Rd
       Staten Island, NY 10304
       Creditor's mailing address                     Describe the lien
                                                      PPP Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       06/30/20                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
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 Debtor       Science, Language, and Arts International School                                         Case number (if known)
              Name

        3307
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 2.9    U.S. Small Business Admin                     Describe debtor's property that is subject to a lien                       $21,036.25                 $0.00
        Creditor's Name                               Filing No. 202006306453307
        409 3rd St, SW
        Washington, DC 20416
        Creditor's mailing address                    Describe the lien
                                                      PPP Loan
                                                      Is the creditor an insider or related party?
                                                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
        06/30/20                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $445,146.25

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Science, Language, and Arts International School

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $17,794.40
           Jessica Adler                                                      Contingent
           950 Greene Avenue                                                  Unliquidated
           Brooklyn, NY 11221                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $16,001.00
           All System Mechanical                                              Contingent
           2215 70th St                                                       Unliquidated
           East Elmhurst, NY 11370                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC Maintenance
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $5,000.00
           Charlotte Arnold                                                   Contingent
           295 St Johns Place, Apt 2                                          Unliquidated
           Brooklyn, NY 11238                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $486.01
           ASR Office Solutions                                               Contingent
           328 Hillside Avenue                                                Unliquidated
           New Hyde Park, NY 11040                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 20
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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Taina Augustin                                                      Contingent
          101 S 5th Street Apt 6F                                             Unliquidated
          Brooklyn, NY 11249                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,496.24
          William Baker                                                       Contingent
          644A Warren St Apt                                                  Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,943.66
          Bloomz Inc                                                          Contingent
          PO Box 6                                                            Unliquidated
          Redmond, WA 98073                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Software
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Ambre Brandis                                                       Contingent
          1174 Dean Street, Apt 1                                             Unliquidated
          Brooklyn, NY 11216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Breanne Breismeister                                                Contingent
          420 12th Street, Apt. N1R                                           Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Janet Brown                                                         Contingent
          6 Stephens Court, 4B                                                Unliquidated
          Brooklyn, NY 11226                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,100.00
          Capricorn - Apricora LLC                                            Contingent
          29 Northcote Dr                                                     Unliquidated
          Melville, NY 11747                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 20
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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,648.00
          Michael Carlson                                                     Contingent
          363 Prospect Place, 3C                                              Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Dara Carlton                                                        Contingent
          209 MacDougal St                                                    Unliquidated
          Brooklyn, NY 11233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,480.00
          Joseph Casper                                                       Contingent
          66 Jewel Street                                                     Unliquidated
          Brooklyn, NY 11222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,476.00
          Randolph Chao                                                       Contingent
          735 Bergen St 2A                                                    Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,301.00
          Jennifer Chen                                                       Contingent
          207 Lincoln Road,                                                   Unliquidated
          Brooklyn, NY 11225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,784.00
          Joy Chen                                                            Contingent
          291 5th Ave 3L                                                      Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,993.00
          Kimberely Cheng                                                     Contingent
          419 E. 4th Street, #2                                               Unliquidated
          Brooklyn, NY 11218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Christopher Chung                                                   Contingent
          305 23rd St., Apt 4E                                                Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,264.00
          Lucian Cohen                                                        Contingent
          550 Vanderbilt Ave Apt 11                                           Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,900.00
          Marcell Coley                                                       Contingent
          528 Willoughby Ave Box #4                                           Unliquidated
          Brooklyn, NY 11206                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,480.00
          Trenton Collier                                                     Contingent
          149 14th Street #1                                                  Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,650.00
          Community Brands
          Corporate AR                                                        Contingent
          Dept. 2145                                                          Unliquidated
          PO Box 122145                                                       Disputed
          Dallas, TX 75312-2145
                                                                             Basis for the claim:    Student Billing Software
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $148.57
          Con Edison                                                          Contingent
          Con Edison, JAF Station                                             Unliquidated
          P.O.Box 1702                                                        Disputed
          New York, NY 10116
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,032.00
          William Conway                                                      Contingent
          93 8th Ave., Apt. 3                                                 Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,169.60
          Thomas Crimi                                                        Contingent
          264 22nd Street                                                     Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,728.00
          Matthew Crosby                                                      Contingent
          689 Monroe St                                                       Unliquidated
          Brooklyn, NY 11221                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $950.90
          De Lage Landen Fin.Ser.                                             Contingent
          1111 Old Eagle School Roa                                           Unliquidated
          Wayne, PA 19087                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Copier/Photocopier Leasing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Priscilla Debar                                                     Contingent
          33 Bond Street, Apt 1906                                            Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Valerie Dierker                                                     Contingent
          4 Downing Street Apt 2A                                             Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,696.00
          Sunshine Dunlop                                                     Contingent
          538 W87th St apt 1                                                  Unliquidated
          Brooklyn, NY 11236                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,114.15
          Elite Services Group, LLC
          c/o Metro Group                                                     Contingent
          49 W. Mount Pleasant Ave                                            Unliquidated
          Box # 2371                                                          Disputed
          Livingston, NJ 07039-9998
                                                                             Basis for the claim:    Cleaning Company
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,696.00
          Alexander Elkirk                                                    Contingent
          135 St Felix Street #1                                              Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Emerald Brooklyn Holdings                                           Contingent
          350 West 42nd St Apt 20G                                            Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,233.00
          Marie-Ange Exilhomme                                                Contingent
          201 Clinton Ave, Apt. 15D                                           Unliquidated
          Brooklyn, NY 11205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,929.00
          Emily Fernandez                                                     Contingent
          353 Ocean Ave Apt. 5A                                               Unliquidated
          Brooklyn, NY 11226                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,696.00
          Emmanuel Fourmont                                                   Contingent
          87 Smith Street, Apt 5E                                             Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $140.00
          Foxtail Technologies                                                Contingent
          1107 Fair Oaks Ave, #884,                                           Unliquidated
          South Pasadena, CA 91030                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Technology Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,437.00
          Michael P Furdyna                                                   Contingent
          402 Washington Ave. Apt.1                                           Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $440.00
          Gaeta Green Enviro                                                  Contingent
          25 Van Street                                                       Unliquidated
          Staten Island, NY 10310                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Garbage Removal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,476.00
          Amber L Garrison                                                    Contingent
          29 St Johns Pl Apt 3                                                Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $233.00
          Gay Parent Magazine                                                 Contingent
          P.O.Box 206                                                         Unliquidated
          Boston, MA 02133                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,038.00
          Go Green Inc.                                                       Contingent
          485 Atlantic Ave Ste A                                              Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nicole Greco                                                        Contingent
          307 Vanderbilt St. #1                                               Unliquidated
          Brooklyn, NY 11218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $642.00
          Noemie Grenier                                                      Contingent
          931 St-Marks Ave                                                    Unliquidated
          Brooklyn, NY 11213                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,480.00
          Wiley Griffiths                                                     Contingent
          56 Cambridge Place                                                  Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Sharif Hamza                                                        Contingent
          55 Berry Street, Apt 1J                                             Unliquidated
          Brooklyn, NY 11249                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $593.00
          A. Harriott                                                         Contingent
          1020 PRESIDENT STREET Apt                                           Unliquidated
          Brooklyn, NY 11225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,676.00
          Cassandra Hatton                                                    Contingent
          70 Lenox Road Apt 6C                                                Unliquidated
          Brooklyn, NY 11226                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Stephan Hoefnagels                                                  Contingent
          509 Pacific St. Apt. 3F                                             Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Tuition Deposit
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,399.00
          Emily A. Howard                                                     Contingent
          136 Macon St Apt 2                                                  Unliquidated
          Brooklyn, NY 11216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,787.04
          Vonetta Hoyte                                                       Contingent
          99 Lafayette Ave, 10-C                                              Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,568.00
          Benjamin Hsu                                                        Contingent
          12 Schermerhorn St, A                                               Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,637.00
          Sherry Huang-Postelnicu                                             Contingent
          759 President St Apt 1E                                             Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          InDinero                                                            Contingent
          340 South Lemon Ave #4637                                           Unliquidated
          Walnut, CA 91789                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Collections on old debt.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,784.00
          Christopher Infante                                                 Contingent
          771 Union Street, Apt 2                                             Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,420.00
          INResonance Inc                                                     Contingent
          32 Industrial Drive East                                            Unliquidated
          Northampton, MA 01060                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Software & Tech Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Sshahzad Ismaily                                                    Contingent
          188 Underhill Ave Apt 2 B                                           Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Jason and Rachel Beaurega                                           Contingent
          195 Hawthorn Ave #1N                                                Unliquidated
          Brooklyn, NY 11225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,941.00
          Tabora Johnson                                                      Contingent
          420 Van Siclen Ave                                                  Unliquidated
          Brooklyn, NY 11207                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,300.00
          Frank Kao                                                           Contingent
          4323 9the Avenue, 1G                                                Unliquidated
          Brooklyn, NY 11232                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,993.00
          Jim Kerwin                                                          Contingent
          1163 Dean Street #1                                                 Unliquidated
          Brooklyn, NY 11211-8000                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,993.00
          Eyal Kleinhandler-Dahan                                             Contingent
          2117 Glenwood Road                                                  Unliquidated
          Brooklyn, NY 11210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,476.00
          Brendan C. Kombol                                                   Contingent
          275 Conover Street, 4S                                              Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,264.00
          Alma Lacour                                                         Contingent
          553 10th Street, #3                                                 Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,636.20
          Fanny Lakoubay                                                      Contingent
          225 Cherry street, 71C                                              Unliquidated
          New York, NY 10002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,636.00
          Fabienne Lasserre                                                   Contingent
          1608 Bergen St, 2nd F                                               Unliquidated
          Brooklyn, NY 11213                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,393.00
          Caroline Lee                                                        Contingent
          4407 4th Ave Apt B2                                                 Unliquidated
          Brooklyn, NY 11220                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,832.00
          Pui Lee                                                             Contingent
          1444 31st Road                                                      Unliquidated
          Astoria, NY 11106                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Suzette Lee-Romagnolo                                               Contingent
          185 Atlantic Ave Apt 4                                              Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,489.68
          Jaime Leifer                                                        Contingent
          61 Midwood St                                                       Unliquidated
          Brooklyn, NY 11225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Pamilyn Li                                                          Contingent
          719 6th Avenue, Apt 4                                               Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,953.40
          Andrew Lin                                                          Contingent
          314 Degraw St #1                                                    Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,834.00
          Christopher Logan                                                   Contingent
          200 Sterling Place, Apt D                                           Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Michael Lyons                                                       Contingent
          1111 N Gulfstream Ave #2D                                           Unliquidated
          Sarasota, FL 34236                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Mackie Media                                                        Contingent
          447 Broadway                                                        Unliquidated
          2nd FL #401                                                         Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Marketing
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,784.00
          Nneoma Maduike                                                      Contingent
          324 Dean Street Apt 5B                                              Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,032.00
          Django Martel                                                       Contingent
          535 Dean St, Apt 208                                                Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,480.20
          Kendall Masson                                                      Contingent
          12 Schermerhorn St Apt 1                                            Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit (20%)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,993.00
          Leeanne McIntyre                                                    Contingent
          419 E. 4th Street, #2                                               Unliquidated
          Brooklyn, NY 11218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Patricia Mullings                                                   Contingent
          2081 Schenectady Ave                                                Unliquidated
          Brooklyn, NY 11234                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,440.00
          New York Family                                                     Contingent
          One Metrotech Ctr North                                             Unliquidated
          Third Floor                                                         Disputed
          Brooklyn, NY 11201
                                                                             Basis for the claim:    Marketing
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,637.00
          Christine Ng                                                        Contingent
          565 Carroll St Apt. 1                                               Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,264.00
          Joseph Ng                                                           Contingent
          251 1st Street Apt 7A                                               Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,264.00
          Dang Nguyen                                                         Contingent
          73 Bay 26th St, #2F                                                 Unliquidated
          Brooklyn, NY 11214                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,301.00
          Thuan Nguyen                                                        Contingent
          365 Bridge St Apt 24B                                               Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $499.17
          Niche.com, Inc.                                                     Contingent
          2840 Liberty Ave Ste 202                                            Unliquidated
          Pittsburgh, PA 15222                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,476.00
          Peter Nigrini                                                       Contingent
          296 Washington Ave.                                                 Unliquidated
          Brooklyn, NY 11205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53.42
          NYC Dept of Environ. Pro.                                           Contingent
          59-17 Junction Blvd                                                 Unliquidated
          Flushing, NY 11368                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Ultities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,966.40
          Faith Osorio                                                        Contingent
          241-30 Caney Rd                                                     Unliquidated
          Jamaica, NY 11422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,772.00
          Patch                                                               Contingent
          134 W 29th St, Fl 11,                                               Unliquidated
          New York, NY 10010                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,664.32
          Frantz Pierre                                                       Contingent
          200 Schermerhorn St.                                                Unliquidated
          Apt 324                                                             Disputed
          Brooklyn, NY 11201
                                                                             Basis for the claim:    Tuition Deposit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Ina Popova                                                          Contingent
          28 Old Fulton St, Apt 3k                                            Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,256.00
          Edouard Portelette                                                  Contingent
          23 Virginia Place                                                   Unliquidated
          Brooklyn, NY 11213                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,200.00
          Proclean Maintenance Syst                                           Contingent
          79 Alexander Ave                                                    Unliquidated
          Bronx, NY 10454                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Janitorial Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,748.50
          Ravenna Solutions                                                   Contingent
          PO Box 122145                                                       Unliquidated
          Dallas, TX 75312-2145                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Software
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,248.08
          Veronica Reboredo                                                   Contingent
          274 21st St, Apt 2A                                                 Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,065.00
          Asha Rhodes-Meade                                                   Contingent
          592 Sterling Place, Apt 2                                           Unliquidated
          Brooklyn, NY 11238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Brooke Richie-Babbage                                               Contingent
          681 East 4th Street                                                 Unliquidated
          Brooklyn, NY 11218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,240.40
          Sonya Rocvil                                                        Contingent
          353 Ocean Ave Apt 2i                                                Unliquidated
          Brooklyn, NY 11226                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,983.60
          Michael Schapira                                                    Contingent
          1138 Ocean Avenue #7A                                               Unliquidated
          Brooklyn, NY 11230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,696.00
          Douglas E. Schimmel                                                 Contingent
          30 Henry St Apt 3                                                   Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,640.00
          Schneps                                                             Contingent
          One MetroTech Center                                                Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          School & Student Services
          Community Brands Holdco,                                            Contingent
          Dept 2145                                                           Unliquidated
          P.O. Box 122145                                                     Disputed
          Dallas, TX 75312-2145
                                                                             Basis for the claim:    Financial aid software
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,696.00
          Alexander Selkirk                                                   Contingent
          135 St Felix Street #1, B                                           Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,993.00
          Mary Sheridan                                                       Contingent
          280 Ashland Pl, Apt 12                                              Unliquidated
          Brooklyn, NY 11217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,993.00
          Faith Skeete                                                        Contingent
          909 East 49th S                                                     Unliquidated
          Brooklyn, NY 11203                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Melissa Smith                                                       Contingent
                                                                              Unliquidated
          Brooklyn, NY 11225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,637.00
          Katherine Spector                                                   Contingent
          240 Franklin Ave Apt 2a                                             Unliquidated
          Brooklyn, NY 11205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $750.00
          SPLAT                                                               Contingent
          100 Bogart St. Suite 420                                            Unliquidated
          Brooklyn, NY 11221                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Security Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,382.50
          Summit Facility Solutions                                           Contingent
          1065 Old Country Rd #209                                            Unliquidated
          Westbury, NY 11590                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Cleaning Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,096.00
          Alice Tang                                                          Contingent
          452 Macon St                                                        Unliquidated
          Brooklyn, NY 11233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,264.00
          Robyn Tang                                                          Contingent
          246 5th Ave, Apt 1L                                                 Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $218.79
          Tangerine Moons                                                     Contingent
          3876 Plantation Lakes Dr                                            Unliquidated
          Johns Island, SC 29455                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,632.00
          Shannon Thake-Kriegsmann                                            Contingent
          179 Prospect Park West 4L                                           Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,156.00
          The Tempositions Group                                              Contingent
          622 3rd Ave 39th Floor                                              Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 20
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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,852.16
          Lukas Toth                                                          Contingent
          365 Bridge St Apt 9A                                                Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,036.65
          US Small Business Admin                                             Contingent
          409 3rd Street, SW                                                  Unliquidated
          Washington, DC 20416                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95.99
          Verizon                                                             Contingent
          P.O. Box 15124                                                      Unliquidated
          Albany, NY 12212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet Service Provider
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,177.39
          W.B. Mason                                                          Contingent
          59 Centre Street                                                    Unliquidated
          Brockton, MA 02301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,784.00
          Frank Wang                                                          Contingent
          78 Amity St Apt 3E                                                  Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,440.00
          Wang, Meivin                                                        Contingent
          233 Lincoln Road                                                    Unliquidated
          Brooklyn, NY 11225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tutition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,544.00
          Sam Weinger                                                         Contingent
          365 Bond St, Apt A516                                               Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Science, Language, and Arts International School                                        Case number (if known)
              Name

 3.124     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,000.00
           Theresa Weinstein                                                  Contingent
           503 3rd St                                                         Unliquidated
           Brooklyn, NY 11215                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Western Pest                                                       Contingent
           483 10th Ave Suite 100                                             Unliquidated
           New York, NY 10018                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $427,450.00
           Jennifer Wilkin                                                    Contingent
           9 Hanover Place                                                    Unliquidated
           Brooklyn, NY 11201                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Compensation (2011-2017)
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $27,859.88
           Winfield Security
           c/o Frank Goldstein                                                Contingent
           330 W 38th St                                                      Unliquidated
           Suite 701                                                          Disputed
           New York, NY 10018
                                                                             Basis for the claim:    Building Security
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.128     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,000.00
           Afiya Witter                                                       Contingent
           130 Clarkson Ave 3O                                                Unliquidated
           Brooklyn, NY 11226                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,376.00
           Christine Wong                                                     Contingent
           23 Luquer Street, Apt 1                                            Unliquidated
           Brooklyn, NY 11231                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Tuition Deposit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any




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 Debtor       Science, Language, and Arts International School                                   Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1       Elite Services Group, LLC
           40 W 27th St                                                                          Line      3.32
           Floor 6
           New York, NY 10001                                                                          Not listed. Explain


 4.2       The Accountkeepers
           340 South Lemon Ave #4637                                                             Line      3.55
           Walnut, CA 91789
                                                                                                       Not listed. Explain

 4.3       Winfield Security Corpora
           57 West 38th Street                                                                   Line      3.127
           New York, NY 10018-5500
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                          0.00
 5b. Total claims from Part 2                                                                        5b.    +     $                  1,513,796.30

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                    1,513,796.30




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 Fill in this information to identify the case:

 Debtor name         Science, Language, and Arts International School

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.         State what the contract or                  Month to Month
              lease is for and the nature of              Copier/Photocopier
              the debtor's interest                       Lease

                  State the term remaining
                                                                                       De Lage Laden Financial
              List the contract number of any                                          1111 Old Eagle School Rd
                    government contract                                                Wayne, PA 19087


 2.2.         State what the contract or                  Tuition Deposit in the
              lease is for and the nature of              amount of $895,050.72
              the debtor's interest

                  State the term remaining
                                                                                       See Tuition Deposits
              List the contract number of any                                          in Schedule E/F
                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Science, Language, and Arts International School

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                         Name                     Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State        Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State        Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State        Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State        Zip Code




Official Form 206H                                                                 Schedule H: Your Codebtors                                Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Science, Language, and Arts International School

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                          Operating a business                                $108,334.37
       From 7/01/2021 to Filing Date
                                                                                                Other


       For year before that:                                                                    Operating a business                              $2,600,483.00
       From 7/01/2020 to 6/30/2021
                                                                                                Other


       For the fiscal year:                                                                     Operating a business                              $2,343,426.00
       From 7/01/2019 to 6/30/2020
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1
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 Debtor       Science, Language, and Arts International School                                          Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Margaret Reimann                                              07/26/21                       $18,900.00           Consulting work (curriculum
               9 Hanover Place                                               05/07/21                                            and teacher training)
               Brooklyn, NY 11201                                            04/16/21
               Curriculum Director/Board Member                              03/10/21
                                                                             02/19/21
                                                                             01/22/21
                                                                             12/24/20
                                                                             11/13/20
                                                                             10/16/20
                                                                             09/18/20
                                                                             08/14/20
                                                                             07/13/20
                                                                             06/12/20

       4.2.    Sara Wilkin                                                   1/22/21 and                        $705.00          Administrative support
               9 Hanover Place                                               8/4/21
               Brooklyn, NY 11201
               Relative of Head of School

       4.3.    Jennifer Wilkin                                               January 1,                     $84,038.00           Compenstion
               9 Hanover Place                                               2021-
               Brooklyn, NY 11201                                            December 4,
               Head of School                                                2021

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address




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 Debtor       Science, Language, and Arts International School                                          Case number (if known)



               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Ambre Brandis; Sherry                            Class Action Suit          Supreme Court of the State                 Pending
               Huang; Christopher Logan                                                    of NY, Kings                           On appeal
               and Michaela Metcalfe;                                                      360 Adams St #4
                                                                                                                                  Concluded
               Jessica Adler and Frederik                                                  Brooklyn, NY 11201
               Dumas Bonnier; William
               Baker and Rita Horvath;
               Tristan Lacour and Alma
               Lacour; James Kerwin and
               Susannah Kerwin; Emmanuel
               Fourmont; Dara Carlton;
               Fanny and Malik Lakoubay;
               Alice Tang & Gregg Conde;
               Joseph and Jennifer Ng;
               Cassandra Hatton; Jennifer
               Chen and Michael PatAmbre
               Brandis vs. Science,
               Language, and Arts d/b/a
               Science, Language, and Arts
               International School Jason
               Beauregard
               524545/2021

       7.2.    CA 522 Fulton LLC                                                           Supreme Court of the State                 Pending
               652477/2021                                                                 of New York                            On appeal
                                                                                                                                  Concluded

       7.3.    Golenbock Eiseman Assor                                                     Supreme Court of the State             Pending
               Bell & Peskoe, LLP                                                          of NY                                  On appeal
               711 Third Ave                                                               NY County                                  Concluded
               New York, NY 10017
               156314-2021

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




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 Debtor        Science, Language, and Arts International School                                            Case number (if known)



       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Frank Glien, CPA
                 30 Dietz Street
                 Cranford, NJ 07016                                                                                                                     $3,500.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                          Description of property transferred or                     Date transfer          Total amount or
                Address                                         payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                    Dates of occupancy
                                                                                                                            From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or

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 Debtor      Science, Language, and Arts International School                                           Case number (if known)



    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Financial information, health records, home addresses, telephone
                  numbers and places of employment.
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?



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 Debtor      Science, Language, and Arts International School                                           Case number (if known)



       Facility name and address                                      Names of anyone with                Description of the contents        Do you still
                                                                      access to it                                                           have it?
       Public Storage                                                 Jennifer Wilkin                     Office computers and                No
       72 Emerson Place                                               9 Hanover Place                     sensitive client financial and      Yes
       Brooklyn, NY                                                   Brooklyn, NY 11201                  personal information



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                     Court or agency name and            Nature of the case                 Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None



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 Debtor      Science, Language, and Arts International School                                           Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       The AccountKeepers                                                                                                         08/2019 - 10/15/2020
                    600 Market St g2,
                    Chapel Hill, NC 27516
       26a.2.       INResonance Inc/Student Billing                                                                                            08/2019 - Present
                    32 Industrial Drive East
                    Northampton, MA 01060

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Frank Glien CPA
                    30 Dietz Street
                    Cranford, NJ 07016

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Bill.com                                                                                 Record of bills owed, vendors, and
                                                                                                             institutional credits

       26c.2.       InResonance/Student Billing                                                              Records of incoming tuition revenue,
                                                                                                             payment plans

       26c.3.       Jennifer Wilkin
                    9 Hanover Place
                    Brooklyn, NY 11201

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.
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 Debtor      Science, Language, and Arts International School                                           Case number (if known)




       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Kristie Blase                                  9 Hanover Place                                     Board member
                                                      Brooklyn, NY 11201

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Marie Guigue                                   9 Hanover Place                                     Board Member
                                                      Brooklyn, NY 11201

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Brett James                                    9 Hanover Place                                     Board Member
                                                      Brooklyn, NY 11201

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Jennifer Wilkin                                9 Hanover Place                                     Board Member
                                                      Brooklyn, NY 11201



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Christian Whitted                              9 Hanover Place                                     Board Member                 2015 to 6/21/2021
                                                      Brooklyn, NY 11201

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Margaret Reimann                               9 Hanover Place                                     Board Member                 2011 to 8/9/2021
                                                      Brooklyn, NY 11201


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates         Reason for
                                                                property                                                               providing the value
       30.1 Jennifer Wilkin
       .    52 Putnam Ave
               Brooklyn, NY 11221                               $84,038.00                                                             Compensation

               Relationship to debtor
               Head of School




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 Debtor      Science, Language, and Arts International School                                           Case number (if known)



               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.2 Margaret Reimann
       .                                                        $18,900.00                                                                 Compensation

               Relationship to debtor
               Director


       30.3 Sara Wilkin
       .                                                        $705.00                                                                    Compensation

               Relationship to debtor
               Adminiistrative Support


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 13, 2022

 /s/ Jennifer Wilkin                                                    Jennifer Wilkin
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Head of School

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Science, Language, and Arts International School                                                 Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

              Debtor                    Other (specify):           Pro Bono

3.     The source of compensation to be paid to me is:

              Debtor                    Other (specify):           Pro Bono

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       b. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; preparation and filing of motions pursuant to 11
               USC 105(a) and 363.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 13, 2022                                                               /s/ James T Bentley
     Date                                                                           James T Bentley
                                                                                    Signature of Attorney
                                                                                    Winston & Strawn LLP
                                                                                    200 Park Ave.
                                                                                    New York, NY 10166-4193
                                                                                    (212) 294-6700 Fax: (212) 294-4700
                                                                                    JBentley@winston.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Science, Language, and Arts International School                                                  Case No.
                                                                                    Debtor(s)                 Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       January 13, 2022                                            /s/ Jennifer Wilkin
                                                                         Jennifer Wilkin/Head of School
                                                                         Signer/Title

 Date: January 13, 2022                                                  /s/ James T Bentley
                                                                         Signature of Attorney
                                                                         James T Bentley
                                                                         Winston & Strawn LLP
                                                                         200 Park Ave.
                                                                         New York, NY 10166-4193
                                                                         (212) 294-6700 Fax: (212) 294-4700




USBC-44                                                                                                                        Rev. 9/17/98


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                   Jessica Adler
                   950 Greene Avenue
                   Brooklyn, NY 11221


                   All System Mechanical
                   2215 70th St
                   East Elmhurst, NY 11370


                   Charlotte Arnold
                   295 St Johns Place, Apt 2
                   Brooklyn, NY 11238


                   ASR Office Solutions
                   328 Hillside Avenue
                   New Hyde Park, NY 11040


                   Taina Augustin
                   101 S 5th Street Apt 6F
                   Brooklyn, NY 11249


                   William Baker
                   644A Warren St Apt
                   Brooklyn, NY 11217


                   Bloomz Inc
                   PO Box 6
                   Redmond, WA 98073


                   Ambre Brandis
                   1174 Dean Street, Apt 1
                   Brooklyn, NY 11216


                   Breanne Breismeister
                   420 12th Street, Apt. N1R
                   Brooklyn, NY 11215


                   Janet Brown
                   6 Stephens Court, 4B
                   Brooklyn, NY 11226


                   Capricorn - Apricora LLC
                   29 Northcote Dr
                   Melville, NY 11747
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               Michael Carlson
               363 Prospect Place, 3C
               Brooklyn, NY 11238


               Dara Carlton
               209 MacDougal St
               Brooklyn, NY 11233


               Joseph Casper
               66 Jewel Street
               Brooklyn, NY 11222


               Randolph Chao
               735 Bergen St 2A
               Brooklyn, NY 11238


               Jennifer Chen
               207 Lincoln Road,
               Brooklyn, NY 11225


               Joy Chen
               291 5th Ave 3L
               Brooklyn, NY 11215


               Kimberely Cheng
               419 E. 4th Street, #2
               Brooklyn, NY 11218


               Christopher Chung
               305 23rd St., Apt 4E
               Brooklyn, NY 11217


               Lucian Cohen
               550 Vanderbilt Ave Apt 11
               Brooklyn, NY 11238


               Marcell Coley
               528 Willoughby Ave Box #4
               Brooklyn, NY 11206


               Trenton Collier
               149 14th Street #1
               Brooklyn, NY 11215
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               Community Brands
               Corporate AR
               Dept. 2145
               PO Box 122145
               Dallas, TX 75312-2145


               Con Edison
               Con Edison, JAF Station
               P.O.Box 1702
               New York, NY 10116


               William Conway
               93 8th Ave., Apt. 3
               Brooklyn, NY 11215


               Thomas Crimi
               264 22nd Street
               Brooklyn, NY 11215


               Matthew Crosby
               689 Monroe St
               Brooklyn, NY 11221


               De Lage Laden Financial
               1111 Old Eagle School Rd
               Wayne, PA 19087


               De Lage Landen Fin.Ser.
               1111 Old Eagle School Roa
               Wayne, PA 19087


               Priscilla Debar
               33 Bond Street, Apt 1906
               Brooklyn, NY 11201


               Valerie Dierker
               4 Downing Street Apt 2A
               Brooklyn, NY 11238


               Sunshine Dunlop
               538 W87th St apt 1
               Brooklyn, NY 11236
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               Elite Services Group, LLC
               40 W 27th St
               Floor 6
               New York, NY 10001


               Alexander Elkirk
               135 St Felix Street #1
               Brooklyn, NY 11217


               Emerald Brooklyn Holdings
               350 West 42nd St Apt 20G
               New York, NY 10036


               Marie-Ange Exilhomme
               201 Clinton Ave, Apt. 15D
               Brooklyn, NY 11205


               Emily Fernandez
               353 Ocean Ave Apt. 5A
               Brooklyn, NY 11226


               Emmanuel Fourmont
               87 Smith Street, Apt 5E
               Brooklyn, NY 11201


               Foxtail Technologies
               1107 Fair Oaks Ave, #884,
               South Pasadena, CA 91030


               Michael P Furdyna
               402 Washington Ave. Apt.1
               Brooklyn, NY 11238


               Gaeta Green Enviro
               25 Van Street
               Staten Island, NY 10310


               Amber L Garrison
               29 St Johns Pl Apt 3
               Brooklyn, NY 11217


               Gay Parent Magazine
               P.O.Box 206
               Boston, MA 02133
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               Go Green Inc.
               485 Atlantic Ave Ste A
               Brooklyn, NY 11217


               Nicole Greco
               307 Vanderbilt St. #1
               Brooklyn, NY 11218


               Noemie Grenier
               931 St-Marks Ave
               Brooklyn, NY 11213


               Wiley Griffiths
               56 Cambridge Place
               Brooklyn, NY 11238


               Sharif Hamza
               55 Berry Street, Apt 1J
               Brooklyn, NY 11249


               A. Harriott
               1020 PRESIDENT STREET Apt
               Brooklyn, NY 11225


               Cassandra Hatton
               70 Lenox Road Apt 6C
               Brooklyn, NY 11226


               Stephan Hoefnagels
               509 Pacific St. Apt. 3F


               Emily A. Howard
               136 Macon St Apt 2
               Brooklyn, NY 11216


               Vonetta Hoyte
               99 Lafayette Ave, 10-C
               Brooklyn, NY 11217


               Benjamin Hsu
               12 Schermerhorn St, A
               Brooklyn, NY 11201
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               Sherry Huang-Postelnicu
               759 President St Apt 1E
               Brooklyn, NY 11215


               InDinero
               340 South Lemon Ave #4637
               Walnut, CA 91789


               Christopher Infante
               771 Union Street, Apt 2
               Brooklyn, NY 11215


               INResonance Inc
               32 Industrial Drive East
               Northampton, MA 01060


               Internal Revenue Services
               PO Box 7346
               Philadelphia, PA 19101-7346


               IRS
               P.O. Box 7346
               Philadelphia, PA 19101-7346


               Sshahzad Ismaily
               188 Underhill Ave Apt 2 B
               Brooklyn, NY 11238


               Jason and Rachel Beaurega
               195 Hawthorn Ave #1N
               Brooklyn, NY 11225


               Tabora Johnson
               420 Van Siclen Ave
               Brooklyn, NY 11207


               Frank Kao
               4323 9the Avenue, 1G
               Brooklyn, NY 11232


               Jim Kerwin
               1163 Dean Street #1
               Brooklyn, NY 11211-8000
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               Eyal Kleinhandler-Dahan
               2117 Glenwood Road
               Brooklyn, NY 11210


               Brendan C. Kombol
               275 Conover Street, 4S
               Brooklyn, NY 11231


               Alma Lacour
               553 10th Street, #3
               Brooklyn, NY 11215


               Fanny Lakoubay
               225 Cherry street, 71C
               New York, NY 10002


               Fabienne Lasserre
               1608 Bergen St, 2nd F
               Brooklyn, NY 11213


               Caroline Lee
               4407 4th Ave Apt B2
               Brooklyn, NY 11220


               Pui Lee
               1444 31st Road
               Astoria, NY 11106


               Suzette Lee-Romagnolo
               185 Atlantic Ave Apt 4
               Brooklyn, NY 11201


               Jaime Leifer
               61 Midwood St
               Brooklyn, NY 11225


               Pamilyn Li
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               Brooklyn, NY 11215


               Andrew Lin
               314 Degraw St #1
               Brooklyn, NY 11231
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               Christopher Logan
               200 Sterling Place, Apt D
               Brooklyn, NY 11238


               Michael Lyons
               1111 N Gulfstream Ave #2D
               Sarasota, FL 34236


               Mackie Media
               447 Broadway
               2nd FL #401
               New York, NY 10013


               Nneoma Maduike
               324 Dean Street Apt 5B
               Brooklyn, NY 11217


               Django Martel
               535 Dean St, Apt 208
               Brooklyn, NY 11217


               Kendall Masson
               12 Schermerhorn St Apt 1
               Brooklyn, NY 11201


               Leeanne McIntyre
               419 E. 4th Street, #2
               Brooklyn, NY 11218


               Patricia Mullings
               2081 Schenectady Ave
               Brooklyn, NY 11234


               New York Family
               One Metrotech Ctr North
               Third Floor
               Brooklyn, NY 11201


               New York State Department
               Bankruptcy Section
               PO Box 5300
               Albany, NY 12205-0300
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               Christine Ng
               565 Carroll St Apt. 1
               Brooklyn, NY 11215


               Joseph Ng
               251 1st Street Apt 7A
               Brooklyn, NY 11215


               Dang Nguyen
               73 Bay 26th St, #2F
               Brooklyn, NY 11214


               Thuan Nguyen
               365 Bridge St Apt 24B
               Brooklyn, NY 11201


               Niche.com, Inc.
               2840 Liberty Ave Ste 202
               Pittsburgh, PA 15222


               Peter Nigrini
               296 Washington Ave.
               Brooklyn, NY 11205


               NY State Dept of Taxation
               Bankruptcy Section
               PO Box 5300
               Albany, NY 12205-0300


               NYC Dept of Environ. Pro.
               59-17 Junction Blvd
               Flushing, NY 11368


               NYS Dept of Taxation
               PO Box 5300
               Albany, NY 12205-0300


               Faith Osorio
               241-30 Caney Rd
               Jamaica, NY 11422


               Patch
               134 W 29th St, Fl 11,
               New York, NY 10010
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               Frantz Pierre
               200 Schermerhorn St.
               Apt 324
               Brooklyn, NY 11201


               Ina Popova
               28 Old Fulton St, Apt 3k
               Brooklyn, NY 11201


               Edouard Portelette
               23 Virginia Place
               Brooklyn, NY 11213


               Proclean Maintenance Syst
                79 Alexander Ave
               Bronx, NY 10454


               Ravenna Solutions
               PO Box 122145
               Dallas, TX 75312-2145


               Veronica Reboredo
               274 21st St, Apt 2A
               Brooklyn, NY 11215


               Asha Rhodes-Meade
               592 Sterling Place, Apt 2
               Brooklyn, NY 11238


               Brooke Richie-Babbage
               681 East 4th Street
               Brooklyn, NY 11218


               Sonya Rocvil
               353 Ocean Ave Apt 2i
               Brooklyn, NY 11226


               Michael Schapira
               1138 Ocean Avenue #7A
               Brooklyn, NY 11230


               Douglas E. Schimmel
               30 Henry St Apt 3
               Brooklyn, NY 11201
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               Schneps
               One MetroTech Center
               Brooklyn, NY 11201


               School & Student Services
               Community Brands Holdco,
               Dept 2145
               P.O. Box 122145
               Dallas, TX 75312-2145


               See Tuition Deposits
               in Schedule E/F


               Alexander Selkirk
               135 St Felix Street #1, B
               Brooklyn, NY 11217


               Mary Sheridan
               280 Ashland Pl, Apt 12
               Brooklyn, NY 11217


               Faith Skeete
               909 East 49th S
               Brooklyn, NY 11203


               Melissa Smith
               Brooklyn, NY 11225



               Katherine Spector
               240 Franklin Ave Apt 2a
               Brooklyn, NY 11205


               SPLAT
               100 Bogart St. Suite 420
               Brooklyn, NY 11221


               Summit Facility Solutions
               1065 Old Country Rd #209
               Westbury, NY 11590


               Alice Tang
               452 Macon St
               Brooklyn, NY 11233
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               The Tempositions Group
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               New York, NY 10017


               Lukas Toth
               365 Bridge St Apt 9A
               Brooklyn, NY 11201


               U.S. Small Business Admin
               409 3rd St, SW
               Washington, DC 20416


               US Small Business Admin
               409 3rd Street, SW
               Washington, DC 20416


               Verizon
               P.O. Box 15124
               Albany, NY 12212


               W.B. Mason
               59 Centre Street
               Brockton, MA 02301


               Frank Wang
               78 Amity St Apt 3E
               Brooklyn, NY 11201
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               Wang, Meivin
               233 Lincoln Road
               Brooklyn, NY 11225


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               Brooklyn, NY 11231


               Theresa Weinstein
               503 3rd St
               Brooklyn, NY 11215


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               New York, NY 10018


               Jennifer Wilkin
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               Brooklyn, NY 11201


               Winfield Security
               c/o Frank Goldstein
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               Suite 701
               New York, NY 10018


               Winfield Security Corpora
               57 West 38th Street
               New York, NY 10018-5500


               Afiya Witter
               130 Clarkson Ave 3O
               Brooklyn, NY 11226


               Christine Wong
               23 Luquer Street, Apt 1
               Brooklyn, NY 11231
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                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Science, Language, and Arts International School                           CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

 NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
 THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:




                                                                                   (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                       Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ James T Bentley
 James T Bentley
 Signature of Debtor's Attorney                                                             Signature of Pro Se Debtor/Petitioner
 Winston & Strawn LLP
 200 Park Ave.
 New York, NY 10166-4193
 (212) 294-6700 Fax:(212) 294-4700                                                          Signature of Pro Se Joint Debtor/Petitioner


                                                                                            Mailing Address of Debtor/Petitioner


                                                                                            City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                               Rev.8/11/2009
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
         ---------------------------------------------X                              Chapter      7
 IN RE:  Science, Language, and Arts
                  International School                                               Case No.:

                                      Debtor(s)                                      STATEMENT PURSUANT TO LOCAL RULE 2017
                  ---------------------------------------------X

I, James T Bentley, an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):




                                      Date\Time                              Services

                                                                             Initial interview, analysis of financial
                                      July 21, 2021 at 1:52 PM               condition, etc.

                                      September 21, 2021 at                  Preparation and review of
                                      10:00 AM                               Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                                           0.00   .

Dated: January 13, 2022
                                                                        /s/ James T Bentley
                                                                        James T Bentley
                                                                        Attorney for debtor(s)
                                                                        Winston & Strawn LLP
                                                                        200 Park Ave.
                                                                        New York, NY 10166-4193

                                                                        (212) 294-6700 Fax:(212) 294-4700
                                                                        JBentley@winston.com




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PDF Attachment

A PDF file has been attached to this document. This file
will appear here when a PDF is created using the ECFiling
button on the Print Documents window.


Pages: 6
File: Fully Executed Written Consent.pdf
Path: \\nyhome.winston.com\home-ny$\ASuffern\Desktop




PDF: <\\nyhome.winston.com\home-ny$\ASuffern\Desktop\Fully Executed Written Consent.pdf>
